                                                                              CLERKS OFFICE U.S. DIST. COURT
                                                                                 AT CHARLOTTESVILLE, VA
                                                                                       FILED
                                                                                   09/10/2018
                        IN THE UNITED STATES DISTRICT COURT                      JULIA C. DUDLEY, CLERK
                       FOR THE WESTERN DISTRICT OF VIRGINIA                      BY: /s/ J. JONES
                                 Charlottesville Division                           DEPUTY CLERK

Jane Doe,                                            )
      Plaintiff,                                     )
                                                     )      Civil Action No. 3:18cv41
                                                     )
              v.                                     )      ORDER
                                                     )
Pamela Sutton-Wallace, et al.,                       )      By:    Joel C. Hoppe
      Defendants.                                    )      United States Magistrate Judge

       Before the Court is the parties’ Consent Discovery Plan, pursuant to Rule 26(f) of the

Federal Rules of Civil Procedure. ECF No. 21. In consideration of the parties’ discovery plan,

the Court hereby MODIFIES the Pretrial Order, ECF No. 12, as follows:

       Fed. R. Civ. P. 26(f) Conference:                    August 7, 2018

       Initial Disclosures under Fed. R. Civ. P. 26(a):     August 21, 2018

       Plaintiff’s Initial Expert Disclosure:               180 days before trial date

       Defendant’s Initial Expert Disclosure:               150 days before trial date

       Rebuttal Expert Disclosure:                          135 days before trial date

       Deadline to Complete Discovery:                      120 days before trial date

       Deadline to File Dispositive Motions:                90 days before trial date

       Deadline for Hearing Dispositive Motions:            60 days before trial date

       All other terms and conditions of the Pretrial Order remain unchanged and in effect.

       It is so ORDERED.

                                                     ENTERED: September 10, 2018




                                                     Joel C. Hoppe
                                                     United States Magistrate Judge




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